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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


    IN THE MATTER OF THE EXTRADITION
    OF MICHAEL L. TAYLOR                                 No. 20-mj-1069-DLC


    IN THE MATTER OF THE EXTRADITION
    OF PETER M. TAYLOR                                   No. 20-mj-1070-DLC



             EXTRADITION CERTIFICATION AND ORDER OF COMMITMENT

CABELL, U.S.M.J.

I.      INTRODUCTION

        The United States seeks to extradite Michael L. Taylor and

Peter M. Taylor (the “respondents”) to Japan to face a charge of

harboring or enabling the escape of a criminal, in violation of

Article      103    of   the     Japanese       Penal    Code.        The    extradition

proceedings were commenced by the United States pursuant to 18

U.S.C. § 3184 and the Extradition Treaty between the United States

and Japan, signed on March 3, 1978, and entered into force on March

26, 1980 (“Treaty”).

        On   May   6,    2020,      this    court     issued   a   complaint       for   the

provisional        arrests     of    the     respondents       with   a     view   towards

extradition at the request of the United States, acting on behalf

of the Government of Japan.                (D. 1).1    The complaint indicates that


1 Citation to the extradition dockets refer to the docket entries in In the
Matter of the Extradition of Michael L. Taylor, Case No. 20-MJ-1069 (D.
Mass).
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the Government of Japan issued warrants for the respondents’

arrests for their involvement in the escape of Carlos Ghosn from

Japanese authorities.      Ghosn, who was under indictment in Japan

for financial crimes, fled to Lebanon, a country with whom Japan

has   no    extradition   treaty,     effectively    shielding   him     from

prosecution.

      On    May   20,   2010,   the    respondents    were    arrested     in

Massachusetts and, after a detention hearing, were ordered to be

held without bail pending the outcome of their extradition hearing.

(D. 41). The respondents sought an emergency writ of habeas corpus

and injunctive relief, which was denied.        See Taylor v. McDermott,

No. 20-cv-11272 (D. Mass. 2020).

II.   FINDINGS

      On August 28, 2020, this court held an extradition hearing

for both respondents pursuant to 18 U.S.C. § 3184.           International

extradition proceedings are governed by 18 U.S.C. § 3181 et seq.

and by treaty.     In applying an extradition treaty, the court is to

construe it liberally in favor of the requesting nation.                  See

Factor     v.   Laubenheimer,   290   U.S.   276,   293–94   (1933).      The

extradition court’s role is not to determine guilt or innocence,

but rather whether the following elements have been satisfied in

order to support extradition of the accused: (1) the judicial

officer is authorized to conduct the extradition proceeding; (2)

the court has jurisdiction over the fugitive; (3) the applicable
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treaty is in full force and effect; (4) the crime(s) for which

surrender is requested is/are covered by the applicable treaty;

and (5) there is sufficient evidence to support a finding of

probable cause as to each charge for which extradition is sought.

See Fernandez v. Phillips, 268 U.S. 311, 312 (1925).

     In considering the evidence presented by the Government of

Japan as contained in the extradition documents submitted in

support of the extradition request, the evidence offered by the

respondents, the Extradition Treaty between the United States and

Japan, and the applicable law, the court finds that the terms of

the Treaty and 18 U.S.C. § 3184 have been satisfied with respect

to the Taylors’ extradition to Japan. More specifically, the court

finds as follows.

          1) Authority of the Court Over the Proceedings

     The parties agree, and this court finds that it has subject-

matter jurisdiction over these proceedings.          18 U.S.C. § 3184.

Section 3184 provides that:

     Whenever there is a treaty or convention for extradition
     between the United States and any foreign government, or
     in cases arising under section 3181(b), any justice or
     judge of the United States, or any magistrate judge
     authorized so to do by a court of the United States ...
     may, upon complaint made under oath, charging any person
     found within his jurisdiction, with having committed
     within the jurisdiction of any such foreign government
     any of the crimes provided for by such treaty or
     convention, or provided for under section 3181(b), issue
     his warrant for the apprehension of the person so
     charged, that he may be brought before such justice,
     judge, or magistrate judge, to the end that the evidence
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      of criminality may be heard and considered.... If, on
      such hearing, he deems the evidence sufficient to
      sustain the charge under the provisions of the proper
      treaty or convention, or under section 3181(b), he shall
      certify the same, together with a copy of all the
      testimony taken before him, to the Secretary of State,
      that a warrant may issue upon the requisition of the
      proper authorities of such foreign government, for the
      surrender of such person, according to the stipulations
      of the treaty or convention .... Id.

Id.     Further, magistrate judges in the District of Massachusetts

are     authorized     by   local   rule     to   “[c]onduct     extradition

proceedings, in accordance with Title 18, United States Code,

Section 3184.”       D. Mass. Local Magistrate Rule 1(e).

            2) Jurisdiction Over the Respondents

      The   parties     agree,   and   the   court   finds     that   it   has

jurisdiction over the respondents.           Section 3184 gives the court

jurisdiction over a fugitive found within the court’s jurisdiction

who has committed crimes in a foreign nation that are covered by

an extradition treaty set forth in section 3181.             The extradition

treaty between the United States and Japan is included in section

3181.    The court finds support in the record that the respondents

are the persons who appeared before the court and are the ones

against whom the instant charges are pending.                The respondents

also agree that they are the ones against whom the present charges

are pending.

            3) Treaty in Full Force and Effect

      The parties agree, and the court finds that there is an


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extradition treaty (Treaty) in full force and effect between the

United States and Japan, for all purposes of the extradition

proceeding.    18 U.S.C. §§ 3181 and 3184.

           4) Crime Covered by the Treaty

     The parties agree, and the court finds that the charges for

which extradition is sought are crimes pursuant to both Japanese

and United States law and covered by the Treaty.

     Article I of the Treaty provides for the return to Japan of

persons found in the United States who are sought by Japan for

prosecution,   trial   or   to   execute    punishment   for   any   offense

specified in Article II of the Treaty.          Article II of the Treaty

provides for extradition for offenses listed in an annexed schedule

which includes an offense relating to obstruction of justice,

including harboring criminals.       The respondents have been charged

for their involvement in harboring or enabling the escape of

someone charged with a crime, in violation of Article 103 of the

Japanese Penal Code.         This offense would also be subject to

criminal   prosecution      under   various    United    States   statutes,

including among others 18 U.S.C. § 1073 and 18 U.S.C. §§ 3148(a)

and 401.

           5) Probable Cause that the Respondents Committed the
              Offenses
     Thus, the only issue left for the court is to determine

whether there is probable cause to believe that the respondents

committed the offenses charged.            The evidence from which that
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determination is to be made is the evidence contained in Japan’s

extradition request.        To certify an extradition warrant, the

magistrate judge must find that there is “probable cause” or

“reasonable grounds” to believe the individual is guilty of the

crime charged.     See Fernandez v. Phillips, 268 U.S. 311, 312

(1925); see also Shapiro v. Ferrandina, 478 F.2d 894, 904–05, 913–

14 (2d Cir. 1973).       A magistrate judge applies the same standard

of probable cause in international extradition hearings as used in

preliminary hearings, in federal criminal proceedings.          See Castro

Bobadilla v. Reno, 826 F.Supp. 1428, 1433 (S.D. Fla. 1993).            The

evidence is sufficient and probable cause is established if a

person   of   ordinary    prudence   and   caution   can   conscientiously

entertain a reasonable belief in the probable guilt of the accused.

Gerstein v. Pugh, 420 U.S. 103, 111 (1975).

     Factually speaking, the parties agree, and the court finds

support in the record, that the respondents committed the conduct

underlying the charges against them. Specifically, the court finds

that there is probable cause to believe that Peter Taylor traveled

to Japan at least three times and visited Ghosn on at least seven

occasions in the months preceding the escape.          Then, on December

28, 2019, Peter Taylor arrived in Tokyo and checked into a room at

the Grand Hyatt.     Ghosn then arrived at the Grand Hyatt and met

with Peter Taylor for about an hour.       On December 29, 2019, Michael

Taylor and a third individual, George-Antoine Zayek, traveled on
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a private jet from Dubai, United Arab Emirates, to Japan’s Kansai

International Airport.      At   Kansai,    Michael    Taylor   and    Zayek

carried large black audio equipment-style cases and told airport

workers that they were musicians.       From Kansai, Michael Taylor and

Zayek checked into the Star Gate Hotel Kansai.          After placing the

cases in one of their rooms, they caught a train bound for Tokyo

at about noon.     At 2:30 p.m., also on December 29th, Ghosn left

his home without luggage and walked to the Grand Hyatt, where he

apparently changed into clothing from luggage that had been dropped

off and received by Peter Taylor earlier in the day.                  Michael

Taylor and Zayek arrived in Tokyo at about 3:30 p.m. and went to

Peter Taylor’s room at the Grant Hyatt.

     Shortly thereafter, the Taylors, Ghosn, and Zayek left Peter

Taylor’s room at the same time, each carrying luggage.                  Peter

Taylor then traveled to the Narita Airport to catch a flight to

China.   However, Ghosn, Michael Taylor, and Zayek caught a train

back to the Kansai Airport area and returned to the Star Gate Hotel

Kansai at approximately 8:15 p.m.          At about 10:00 p.m., Michael

Taylor and Zayek left the hotel with luggage, including the two

audio-style cases, and went to Kansai Airport.               Surveillance

footage did not show Ghosn leaving the hotel.         Once at the airport,

the baggage of Michael Taylor and Zayek was loaded onto their

private jet without being checked.       The jet departed for Turkey at

about 11:00 p.m.     On December 31, 2019, Ghosn announced that he
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was in Lebanon.

       Although the respondents do not dispute the foregoing facts,

they argue that those facts do not make out a violation of Article

103.     This court finds that they do, however.

       Among other things, Article 103 makes it a crime to “harbor[]

or enable[] the escape of another person who has...committed a

crime.”       As this court stated previously in considering the issue

in     the    context    of    the    respondents’   motion   for   bail,     the

respondents’ conduct literally brings them squarely within the

purview of this portion of Article 103 because they harbored or

enabled the escape of Carlos Ghosn, who had allegedly committed a

crime.       A separate court reached the same result after considering

the issue in the context of the respondents’ unsuccessful motion

for injunctive relief.           See Taylor v. McDermott, No. 20-cv-11272

(D. Mass. 2020) at D. 44 (“Petitioners have not shown a high

likelihood of success in their argument [that] Article 103 does

not prohibit interfering with the Japanese criminal justice system

by harboring Ghosn and enabling Ghosn to elude discovery by law

enforcement and escape judgment from a Japanese court.”).

       To be sure, the respondents do not really take issue with the

court’s interpretation of Article 103 as it is written.                 Rather,

they    argue     that   the    English    translation   of   Article   103    is

misleading because it does not accurately convey the true required

elements of the offense.             They argue that a proper reading of the
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actual Japanese text of Article 103 requires one to do more than

merely harbor or enable the escape of someone who has committed a

crime to violate the provision; it requires one to harbor or enable

the escape of someone who either was in physical confinement or

was actively being pursued by law enforcement for a recently

committed crime.    They contend that they did not violate Article

103 under this interpretation because, although Ghosn was on

release for charges for which he had been indicted, he was neither

in   physical   confinement   nor   actively    being   pursued   by    law

enforcement for a crime at the time the respondents helped him

flee Japan.

      Despite   strong   urging,    however,   the   court   declines    to

consider the respondents’ argument.       Even assuming an extradition

court has both the authority to resolve disputed issues of foreign

law, and the hopeful belief it could do so competently, that does

not mean it should.      “[E]xtradition proceedings are not vehicles

for United States federal courts to interpret and opine on foreign

law,” and American extradition courts therefore have consistently

cautioned against doing so, particularly to invalidate arrest

warrants.     See e.g., Noeller v. Wojdylo, 922 F.3d 797, 805 (7th

Cir. 2019); Marzook v. Christopher, No. 96 CIV. 4107 (KMW), 1996

WL 583378, at *5, n.4 (S.D.N.Y. Oct. 10, 1996) (citing Peters v.

Egnor, 888 F.2d 713, 716 (10th Cir. 1989) (“we think that an

extensive investigation of [the requesting country's] law would be
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inappropriate”); Matter of Assarsson, 635 F.2d 1237, 1244 (7th

Cir.1980), cert. denied, 451 U.S. 938 (1981) (“We are also not

expected to become experts in laws of foreign nations.”).

     Moreover, where a Japanese court has now twice issued warrants

alleging that the respondents’ conduct violated Article 103, and

the Government of Japan has through declarations and case citations

presented a reasonable interpretation of Article 103 under which

the respondents’ conduct would constitute a violation of that

provision, the prevailing view is that the extradition court should

defer to the foreign country’s interpretation of its own laws.

See In Matter of Extradition of Pineda Lara, No. 97 CR. MISC. 1

(THK), 1998 WL 67656, at *7 (S.D.N.Y. Feb. 18, 1998) (“a judge in

the United States should therefore defer to a foreign judicial

officer's or government official's reasonable interpretation of a

statute   where    the    statute     is   subject   to     more   than     one

interpretation”); see also Matter of Extradition of Lui, 939

F.Supp.   934,    949   (D.   Mass.   1996)   (comity     and   common    sense

“suggest[] that the foreign judicial officer should be presumed to

be more knowledgeable than the judicial officer in the United

States about the foreign law.”).           That is the course the court

chooses to follow here.       Accordingly, the court finds that there

is probable cause to believe that the respondents violated Article

103 of the Japanese Penal code.



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III.     CONCLUSION

       Based on the foregoing, this matter is certified to the

Secretary of State in order that warrants may issue, upon the

requisition of the proper authorities in Japan, for the surrender

of Michael L. Taylor and Peter M. Taylor on the charge of harboring

or enabling the escape of a criminal, in violation of Article 103

of the Japanese Penal Code, according to the provisions of the

Treaty between the United States and Japan.

       No later than seven days after the date of this decision, the

government shall file a proposed extradition certification and

order of commitment.

       The court will then order that the Clerk of Court forward a

certified copy of this Extradition Certification and Order of

Commitment, together with a copy of all the evidence taken before

this Court, to the Secretary of State, Department of State, to the

attention of the Office of the Legal Adviser.

       The Taylors shall remain in the custody of the U.S. Marshal

for this District, to be held pending final disposition of this

matter by the Secretary of State, and pending each respondent’s

potential surrender to the government of Japan.

SO ORDERED.

                                             /s/ Donald L. Cabell
                                             DONALD L. CABELL, U.S.M.J.

DATED:    September 4, 2020


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